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Supreme Court of Texas
                                                                                                        Coordinates: 30.275853°N 97.741054°W


F r o m W i k i p e d i a , the free e n c y c l o p e d i a


The Supreme Court of Texas is the court of last resort for civil
matters (including juvenile delinquency which the law considers to                       Supreme Court of Texas
be a civil matter and not criminal) in the state of Texas. A different
court, the Texas Court of Criminal Appeals, is the court of last
resort for criminal matters in the State of Texas.

The Court is composed of a Chief Justice and eight Associate
Justices. The Court meets in Downtown Austin, Texas in a
building located on the state Capitol grounds, behind the Texas
State Capitol.                                                                           Seal o f the T e x a s S u p r e m e C o u r t


                                                                             Established       j840^^


 Contents                                                                    Country           Texas Q ^ . U n i t e d States * *

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Regulation of the legal profession in Texas
By statute, the Texas Supreme Court has administrative control over the State
Bar of Texas, an agency of the judiciary.' 2 ' The Texas Supreme Court has the                Texas Supreme Court B u i l d i n g
sole authority to license attorneys in Texas,' 3 ' and also appoints the members
of the Board of Law Examiners^ which, under instructions of the Supreme                                         2:13-cv-193
                                                                                                                                          exhibitsticker.com




                                                               [5]                                              09/02/2014
Court, administers the Texas bar examination.

                                                                                                               DEF0259
Justices of the Court
The Court has a Chief Justice and eight associate justices. Each member of the Court must be at least 35 years of age,
a citizen of Texas, licensed to practice law in Texas, and must have practiced law (or have been a lawyer and a judge
of a court of record together) for at least ten y e a r s . T h e Clerk of the Court is appointed by the Justices and serves a
four-year term.
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Election of members of the Court

The Chief Justice and the associate justices are elected to staggered six-year terms in state-wide partisan elections.
When a vacancy arises the Governor of Texas may appoint Justices, subject to Senate confirmation, to serve out the
remainder of an unexpired term until the next general election. As of 2010, six of the current Justices, a majority,
were originally appointed by Governor Rick Perry. The current Justices, like all the Judges of the Texas Court of
Criminal Appeals, are all Republican.

The place numbers have no special meaning as all justices are elected state-wide, except that the Chief Justice
position is considered "Place 1".

Women on the Court

Hortense Sparks Ward, who became the first woman to pass the Texas Bar Exam in 1910, was appointed Special
Chief Justice of an all-female Texas Supreme Court 15 years later. All of the court's male justices recused themselves
from Johnson v. Darr, a 1924 case involving the Woodmen of the World, and, since nearly every member of the
Texas Bar was a member of that fraternal organization, paying personal insurance premiums that varied with the
claims decided against it, no male judges or attorneys could be found to hear the case.171 After ten months of
searching for suitable male replacements to decide the case, Governor Pat Neff decided on January 1, 1925, to
appoint a special court composed of three women. This court, consisting of Ward, Hattie Leah Henenberg, and Ruth
Virginia Brazzil, met for five months and ultimately ruled in favor of Woodmen of the World.[8]

On July 25, 1982, Ruby Kless Sondock became the court's first regular female justice, when she was appointed to
replace the Associate Justice James G. Denton who had died of a heart attack. Sondock served the remainder of
Denton's term, which ended on December 31, 1982, but did not seek election to the Supreme Court in her own right.
' 9 ' Rose Spector became the first woman elected to the court in 1992 and served until 1998 when she was defeated by
Harriet O'Neill.[10]

Current Justices

     Justice           Party Affiliation      Place        Date Service Began Term Ends
Nathan L. Hecht          Republican        Chief Justice    January 1, 1989     2014
 Don R. Willett          Republican             2           August 24, 2005     2018
Debra Lehrmann           Republican             3            June 21, 2010      2016
 John P. Devine          Republican             4           January 1, 2013     2018
 Paul W. Green           Republican             5           January 1, 2005     2016
   Jeff Brown            Republican             6           October 3, 2013    2014[a]
 Jeffrey S. Boyd         Republican             7          December 3, 2012    2014
  Phil Johnson           Republican             8            April 11,2005     2014
  Eva Guzman             Republican             9           October 8, 2009    2016




History of membership of the Court

Succession of seats
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         Chief Justice (Place 1)                     Place 2                                  Place 3
         Established by the Texas     Established by the Texas Constitution           Established by the Texas
           Constitution of 1876                      of 1876                            Constitution of 1876
                             1878-                                 1876-                                  1876-
G. Moore       Democratic             Gould         Democratic                G. Moore       Democratic
                             1881                                  1881                                   1878
                             1881-                                 1881-                                  1878-
Gould          Democratic             Stayton       Democratic                 Bonner        Democratic
                             1882                                  1888                                   1882
                             1882-                                 1888-                                  1882-
Willie         Democratic             Walker        Democratic                West           Democratic
                             1888                                  1889                                   1885
                             1888-                                 1889-      S.                          1885-
Stayton        Democratic             Henry         ; Democratic                             Democratic
                             1894                                  1893                                   1886
                                                                              Robertson
                             1894-                                 1893-                                  1886-
Gaines         Democratic             Brown         Democratic                               Democratic
                             1911                                  1911                                   1894
                                                                              G lines
                             1911-                                 1911-                                  1894-
Brown          Democratic             Ramsey        Democratic                i Denman       Democratic
                             1915                                  1912                                   1899
                             1915-                                 1912-                                  1899-
N. Phillips    Democratic             N. Phillips   Democratic                 Williams      Democratic
                             1921                                  1915                                   1911
                             1921-                                 1915-                                  1911-
Cureton        Democratic             Yantis        Democratic                Bibrell        Democratic
                             1940                                  1918                                   1913
W.F.                         1940-                                 1918-                                  1913-
               Democratic             Greenwood     Democratic                H iwkins       Democratic
Moore                        1941                                  1934                                   1921
                             1941-                                 1934-                                  1921-
Alexander      Democratic             Sharp         Democratic                Picrson        Democratic
                             1948                                  1952                                   1935
                             1948-                                 1953-                                  1935-
Hickman        Democratic             Culver        Democratic                Critz         Democratic
                             1961                                  1965                                   1945
                             1961-                                 1964-                                  1945-
Calvert        Democratic             Pope          Democratic                ; Simpson     Democratic
                             1972                                  1982                                   1949
                             1972-    T.                           1982-                                  1949-
Greenhill      Democratic                           Democratic                Harvey        Democratic
                             1982                                  1988                                   1950
                                      Robertson
                             1982-                                 1989-                                  1950-
Pope           Democratic                           Democratic                Calvert       Democratic
                             1985                                  1994                                   1961
                                      Doggett
                             1985-                                 1995-                                  1961-
Hill           Democratic             Owen          Republican                Steakley      Democratic
                             1988                                  2005                                   1980
                            1988-                                  2005-                                  1981-
Phillips       Republican             Willett       Republican                Wallace       Democratic
                            2004                                   present                                1988
                            2004-                                                                         1988-
Jefferson      Republican                                                     Cook          Republican
                            2013                                                                          1992
                            2004-                                                                         1993-
Hecht          Republican                                                     Spector       Democratic
                            present                                                                       1998
                                                                                                          1999-
                                                                              O'Neill       Republican
                                                                                                          2010
                                                                                                          2010-
                                                                              Lehrmann      Republican
                                                                                                          present
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              Place 4                              Place 5                                  Place 6
      Established in 1918 as         Established in 1918 as Commissioner,            Established in 1918 as
     Commissioner, Section B                       Section B                        Commissioner, Section A
Made a Supreme Court judgeship in     Made a Supreme Court judgeship in     Made a Supreme Court judgeship in
             1945                                  1945                                  1945
                           1918-                                 1918-      Taylor       Democratic    1919-1921
Sadler       Democratic              Montgomery Democratic
                           1920                                  1919
                                                                            Randolph     Democratic    1921-1923
                        1920-                                    1919-
Powell       Democratic              Kittrell     Democratic                Bishop       Democratic    1923-1927
                        1927                                     1921
                                                                            Critz        Democratic    1927-1935
                           1927-     Hamilton     [Democratic    1921
Leddy        Democratic                                                     Hickman      Democratic    1935-1948
                           1933
                                                                 1925-
                                     Short        Democratic                Garwood      Democratic    1948-1958
                           1933-                                 1934
Smedley      Democratic
                           1954                                  1935-      Hamilton     Democratic    1959-1970
                                     Taylor       Democratic
                           1954-                                 1950       Denton       Democratic    1971-1982
Walker       Democratic
                           1975
                                                                 1950-      Sondock      Democratic    1982
                                     Wilson       Democratic
                        1975-                                    1956
Doughty      Democratic                                                     Kilgarlin    Democratic    1983-1988
                        1976         McCall                      1956
                                                  Democratic
                           1976-                                            I Iccht      Republican    1989-2013
Yarbrough    Democratic                                          1957-
                           1977      Norvell      Democratic                                           2013
                                                                 1968       Brown       i Republican
                           1977-                                                                       -present
Barrow       Democratic                                          1968-
                           1984      Reavley      Democratic
                                                                 1977
                           1984-
R. Gonzales Democratic                                           1977-
                           1998      Cliadick     i Democratic
                                                                 1978
                          1999-
A. Gonzales Republican                                           1978-
                          2000       Campbell     Democratic
                                                                 1988
                          2001-
Jefferson    Republican              Culver       Republican     1988
                          2004
                                                                 1988-
                        2004-        Hightower    Democratic
Medina       Republican                                          1996
                        2012
                                                                 1996-
John P.                   |2013-     Abbott       Republican
             Republican                                          2001
Devine                     present
                                                                 2001-
                                     Rodriguez    Republican
                                                                 2002
                                                                 2002-
                                     Smith        Republican
                                                                 2004
                                                                 2005-
                                     Green        Republican
                                                                 present
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                 Place 7                                  Place 8                             Place 9
 Established in 1918 as Commissioner.              Established in 1918 as              Established in 1918 as
               Section B                          Commissioner, Section A             Commissioner, Section A
  Made a Supreme Court judgeship in      Made a Supreme Court judgeship in      Made a Supreme Court judgeship in
               1945                                   1945                                   1945
                              1918-                                   1918-     Strong     Democratic    1918-1920
 McClendon j Democratic                  Sonfield       Democratic
                              1923                                    1921
                                                                                Spencer    Democratic    1920-1923
                              1923-                                   1921-
 Stayton       j Democratic             Gallagher       Democratic              German     Democratic    1923-1925
                              1925                                    1923
                                                                                llarvey    Democratic    1925-1943
                            1925-                                     1923-
 Speer         : Democratic              Blanks         Democratic              Folley     Democratic    1943-1949
                            1929                                      1924
                              1929-                                   1924-     Griffin    Democratic    1949-1968
 Ryan          : Democratic             Chapman         Democratic
                              1937                                    1925      McGee      Democratic    1969-1986
                              1937-                                   1925-     Mauzy      Democratic    1987-1992
 Martin        i Democratic             Nickels         Democratic
                              1939                                    1929
                                                                                Enoch      Republican    1993-2003
                              1939-                                   1929-
 Slatton       i Democratic             : Sharp         Democratic              Brister    Republican   2003-2009
                              1947                                    1934
                                                                      1935-                             2009-
                              1947-                                             Guzman     Republican
Hart           | Democratic             German          Democratic                                      present
                              1950                                    1941
                              1950-                                   1941-
 Smith         i Democratic             Brewster        Democratic
                              1970                                    1957
                              1971-                                   1957-
 Daniel         Democratic              ; Greenhill    j Democratic
                              1978                                    1972
                              1979-     H. Phillips     Democratic    1972
 Spears         Democratic
                              1990                                    1973-
                                        S. Johnson      Democratic
                              1991-                                   1979
 Cornyn        ; Republican
                              1997                                    1978-
                                        Garwood         Republican
                              1997-                                   1980
Hankinson      i Republican
                              2002                                    1980-
                                        Ray            j Democratic
                              2002-                                   1990
Wainwright     Republican
                              2012                                    1990-
                                        Gammage         Democratic
                              2012-                                   1995
Boyd           Republican
                              present                                 1995-
                                        Baker           Republican
                                                                      2002
                                                                      2002-
                                        Schneider      j Republican
                                                                      2004
                                                                      2004-
                                        P. Johnson Republican
                                                                      present



Supreme Court Committees
Judicial Committee on Information Technology (http://www.courts.state.tx.us/jcit/) (JCIT)

Created in 1997 JCIT was established to set standards and guidelines for the systematic implementation and
integration of information technology into the trial and appellate courts in Texas.
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JCIT approaches this mission by providing a forum for state-local, inter-branch, and public-private collaboration, and
development of policy recommendations for the Supreme Court of Texas. Court technology, and the information it
carries, are sprawling topics, and Texas is a diverse state with decentralized funding and decision-making for trial
court technology. JCIT provides a forum for discussion of court technology and information projects. With this
forum, JCIT reaches out to external partners such as the Conference of Urban Counties, the County Information
Resource Agency, Texas.gov, and TIJIS (Texas Integrated Justice Information Systems), and advises or is consulted
by the Office of Court Administration on a variety of projects.

Three themes consistently recur in the JCIT conversation: expansion and governance of electronic filing; the
evolution and proliferation of court case management systems; and the evolution and governance of technology
standards for reporting and sharing information across systems in civil, family, juvenile, and criminal justice.

The Founding Chair of JCIT from 1997-2009 was Peter S. Vogel, a partner at Gardere Wynne Sewell LLP in Dallas,
and since 2009 the JCIT Chair has been Justice Rebecca Simmons.


Notes
        a                                                                                  A
   i.                                                                                 9.       "Ruby Kless Sondock (born

        http://www.supreme.courts.state.tx.us/advisories/anniversa                         1926)" (http://tarlton.law.utexas.edu/justices/profile/view

   2.   A
            T e x . G o v ' t C o d e section 81.011.                                      Justices of Texas 1836-1986. Tarlton Law Library, The
        A
   3.       T e x . G o v ' t Code sections 8 1 . 0 6 1 and 82.021                         U n i v e r s i t y o f Texas at A u s t i n . O c t o b e r 16, 2 0 0 9 .
        A
   4.       T e x . G o v ' t Code section 8 2 . 0 0 1                                     Retrieved July 16,2013.
        A                                                                                  A
   5.       T e x . G o v ' t Code section 82.004.                                   10.       Cruse, D o n (January 8, 2 0 0 8 ) . " A n U n u s u a l H i s t o r y o f
        A
   6.       T e x . Const., A r t . 5, Sec. 2.                                             W o m e n S e r v i n g o n the Texas Supreme
        A
   7.                                                                                      Court" (http://www.scotxblog.com/elections/women-on-

        http://www.tshaonline.org/handbook/online/articles/jpa01                           the-texas-supreme-court/#footnote_0 62). The Supreme
   8.   A
            " H o r t e n s e Sparks W a r d ( 1 8 7 5 -                                   Court of Texas Blog. Retrieved July 16, 2013.
        1944)" (http://tarlton.law.utexas.edu/justices/profile/view/

        Justices of Texas 1836-1986. Tarlton Law Library, The
        U n i v e r s i t y o f Texas at A u s t i n . O c t o b e r 16, 2 0 0 9 .

        R e t r i e v e d July 1 6 , 2 0 1 3 .




Further reading
   • Haley, James L. The Texas Supreme Court: A Narrative History, 1836-1986 (Austin: University of Texas
        Press, 2013. xxviii, 322 pp.


External links
   H
        Official Website for the Texas Supreme Court (http://www.supreme.courts.state.tx.us/)
   • The Texas Reports, the decisions of the Texas Supreme Court from 1846 to 1885
        (http://texashistory.unt.edu/browse/collection/TXRPT/), hosted by the Portal to Texas History
        (http ://texashi story .unt. edu/)
   " "Judiciary" (by Paul Womack) from The Handbook of Texas Online
        (http://www.tshaonline.org/handbook/online/articles/jzj01) (Texas State Historical Association)
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      Texas Supreme Court Historical Society (http://www.texascourthistory.org/)

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